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                                                                                                   S.D.N.Y. – N.Y.C.
                                                                                                       1:20CV07311
                                                                                                           Kaplan, J.

                                       United States Court of Appeals
                                                             FOR THE
                                                     SECOND CIRCUIT
                                                     _________________

                            At a stated term of the United States Court of Appeals for the Second
              Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
              in the City of New York, on the 20th day of June, two thousand twenty-five.

              Present:
                             Denny Chin,
                             Sarah A. L. Merriam,
                             Maria Araújo Kahn,
                                   Circuit Judges.

              E. Jean Carroll,

                                            Plaintiff-Appellee,

                             v.                                                           24-644

              Donald Trump, Jr., in his personal capacity,

                                            Defendant-Appellant.


              Oral argument in this matter is scheduled for June 24, 2025. The Appellant has moved to stay
              this matter pending this Court’s issuance of a substantive ruling explaining its denial of the
              Appellant’s motion (filed jointly with the United States) to substitute the United States as a party
              pursuant to the Westfall Act, 28 U.S.C. §2679(d).

              In assessing whether a stay is warranted, we consider four factors: “(1) whether the stay applicant
              has made a strong showing that he is likely to succeed on the merits; (2) whether the applicant will
              be irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the
              other parties interested in the proceeding; and (4) where the public interest lies.” Nken v. Holder,
              556 U.S. 418, 434 (2009) (citation omitted). These factors do not support a stay in this case.

              One: The Appellant has not made a strong showing of likely success on the merits. This panel
              has already denied the motion to substitute. Two: The Appellant will not be irreparably harmed
              by proceeding with oral argument as scheduled. The Appellant has been represented on this
              appeal by the James Otis Law Group, LLC. That firm filed the briefs in this appeal, and a member
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              of the firm appeared in the appeal (as substitute counsel) on March 26, 2025. If this Court’s ruling
              on the motion to substitute is eventually set aside for any reason, the appeal may be reargued by
              new counsel. Three: The Appellee will be injured by further delay in this matter, which has
              already been pending for more than five years. Four: “[W]here the public interest lies” may be
              vigorously debated in this situation, but on balance, the public interest would not be served by
              further delay. Moreover, even if that factor were to support a stay, it would not outweigh the
              other factors.

              Accordingly, IT IS HEREBY ORDERED that the motion is DENIED. Oral argument will
              proceed as scheduled on June 24, 2025.


                                                                    For the Court:
                                                                    Catherine O’Hagan Wolfe,
                                                                    Clerk of Court




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